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UNITED STATES BANKRUPTCY COURT
DISTRICT OF SOUTH CAROLINA

In re: )
)
JACQUELINE ELIZABETH ARD and ) Case No. 25-01384-jd
TERRY FRANK NICOLA, ) Chapter 13
)
)
Debtors. )
)
CERTIFICATE OF SERVICE

The undersigned hereby certifies that she caused copies of ORDER GRANTING RELIEF
FROM AUTOMATIC STAY and CERTIFICATE OF SERVICE filed in the above-captioned
case, to be served via United States mgil, first-class postage prepaid or electronically via CM/ECF,
on the parties listed below this \ day of June 2025.

Debtors:

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